                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

CHRISTOPHER J. MCINTYRE,
          Plaintiff,
                                           Case Number 3:13-cv-00149-RRB
v.

BP EXPLORATION AND PRODUCTION,
INC.; BP AMERICA PRODUCTION
COMPANY,
          Defendants.                      JUDGMENT IN A CIVIL CASE


   JURY VERDICT. This action came before the court for a trial by
jury. The issues have been tried and the jury has rendered its
verdict.


 X   DECISION BY COURT. This action came before the court. The
issues have been duly considered and a decision has been rendered.

            IT IS ORDERED AND ADJUDGED:

        THAT the plaintiff take nothing, that the action be
dismissed on the merits, and that the defendants BP Exploration and
Production, Inc., and BP America Production Company recover of
plaintiff Christopher J. McIntyre defendants costs of action in the
amount of $                   and attorney's fees in the amount of
$________________ with postjudgment interest thereon at the rate of
  .25 % as provided by law.

NOTE: Award of prejudgment interest, costs and attorney's fees are
governed by D.Ak. LR 54.1, 54.3, and 58.1.



APPROVED:


 S/RALPH R. BEISTLINE
 United States District Judge


[]{JMT2.WPT*Rev.3/03}




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 Date: March 9, 2015
 NOTE: Award of prejudgment interest,         MARVEL HANSBRAUGH
 costs and attorney's fees are governed        Marvel Hansbraugh,
 by D.Ak. LR 54.1, 54.3, and 58.1.               Clerk of Court




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